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                     UNITED STATES DISTRICT COURT

                             DISTRICT OF HAWAII

  CATHY L. BERMUDEZ,                    Case No.: 1:24-cv-0036-DKW-KJM
             Plaintiff,
                               STIPULATION OF DISMISSAL
       vs.                     WITH PREJUDICE AS TO
  EQUIFAX INFORMATION          DEFENDANTS EQUIFAX
  SERVICES LLC; EXPERIAN       INFORMATION SERVICES, LLC
  INFORMATION SOLUTIONS, INC.; AND EXPERIAN INFORMATION
  CKS PRIME INVESTMENTS, LLC; SOLUTIONS, INC.
  and CONTINENTAL FINANCE
  COMPANY, LLC;
             Defendants.
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           STIPULATION OF DISMISSAL WITH PREJUDICE
            AS TO DEFENDANTS EQUIFAX INFORMATION
    SERVICES, LLC AND EXPERIAN INFORMATION SOLUTIONS, INC.

        Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure and

  Local Rule 41.1, Plaintiff Cathy L. Bermudez hereby dismisses all claims in this

  action, with prejudice, as to Defendants Equifax Information Services, LLC

  (“Equifax”) and Experian Information Solutions, Inc (“Experian”). This dismissal

  includes all Plaintiff's claims against Defendants Equifax and Experian. Equifax

  and Experian are the only remaining defendants in this Action.

        Plaintiff, Equifax Information Services, LLC, and Experian Information

  Solutions, Inc. are to bear their own costs and attorneys' fees. All parties who have

  appeared in this matter have agreed to this stipulation, therefore, dismissal is

  appropriate under Rule 41(a)(1)(A)(ii).

        RESPECTFULLY SUBMITTED this 6th day of June 2024.

                                        /s/ James M. Smith
                                        JAMES M. SMITH (pro hac vice)
                                        MARGERY S. BRONSTER
                                        ROBERT M. HATCH

                                        Attorneys for Plaintiff
                                        CATHY L. BERMUDEZ

                                        /s/ Deborah K. Wright (with consent)
                                        DEBORAH K. WRIGHT
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                                        Attorneys for Defendant
                                        EXPERIAN INFORMATION SOLUTIONS, INC.

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                                   /s/Andrew L. Salenger (with consent)
                                   ANDREW L. SALENGER
                                   ARIS B.C. SPRINGS

                                   Attorneys for Defendant
                                   EQUIFAX INFORMATION SERVICES


  APPROVED AS TO FORM.

       DATED: June 7, 2024 at Honolulu, Hawai’i.


                                /s/ Derrick K. Watson
                               _______________________________
                               Derrick K. Watson
                               Chief United States District Judge



  CATHY L. BERMUDEZ v. EQUIFAX INFORMATION SERVICES LLC, et al.;
  Civil No. 1:21-cv-0036 DKW-KJM; STIPULATION OF DISMISSAL WITH
  PREJUDICE AS TO DEFENDANTS EQUIFAX INFORMATION SERVICES,
  LLC AND EXPERIAN INFORMATION SOLUTIONS, INC.




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                             CERTIFICATE OF SERVICE
         I hereby certify that on the Friday, June 7, 2024, I electronically filed the
  foregoing with the Clerk of Court using the CM/ECF system which will send
  notification of such filing to all users.


                                                  By: /s/ James M. Smith


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